Order Form (01/2005)
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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge        Rebecca R. Pallmeyer       Sitting Judge if Other
        or Magistrate Judge                                    than Assigned Judge

   CASE NUMBER                          09 C 8067                         DATE                      6/29/2010
            CASE                                    Martin vs. West Asset Management, Inc.
            TITLE

  DOCKET ENTRY

  Pursuant to stipulation, this case is dismissed with prejudice and without costs, pursuant to
  Fed.R.Civ.P. 41(a)(1). The claims of the putative class members are dismissed without prejudice.
  Status hearing set for 7/2/10 is stricken. Civil Case Terminated.




                                                                                                             Docketing to mail notices.




                                                                                       Courtroom Deputy               LCW
                                                                                                 Initials:




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